                       IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION



 JASON WILLIAMS,

        Plaintiff,                                             Case No. 5:19-cv-00475-BO

 vs.
                                                  DEFENDANT AT&T MOBILITY LLC’S
 AT&T MOBILITY LLC,                               MOTION TO DISMISS PURSUANT TO
                                                  RULE 12(b)(6), 12(b)(1) AND 9(b)
        Defendant.



       Defendant AT&T Mobility LLC (“AT&T”) respectfully moves this Court to dismiss

Plaintiff Jason Williams’ Complaint (Dkt. 2) pursuant to Federal Rules of Civil Procedure

12(b)(6), 12(b)(1) and 9(b) for failure to state a claim upon which relief may be granted, failure to

establish Article III standing, and failure to satisfy the particularity requirement for fraud-based

claims. The grounds for this motion are set forth in the AT&T’s contemporaneously filed

Memorandum of Law in support of this Motion to Dismiss, which is referred to and fully

incorporated herein by reference.

       WHEREFORE, AT&T respectfully requests that this Court dismiss Plaintiff’s Complaint,

with prejudice, and grant AT&T such other and further relief as the Court deems just and proper.




                                                 1

          Case 5:19-cv-00475-BO Document 14 Filed 12/20/19 Page 1 of 3
Respectfully submitted this the 20th day of December, 2019.

                             KILPATRICK TOWNSEND & STOCKTON LLP

                             /s/ Joseph S. Dowdy
                             Joseph S. Dowdy (N.C. State Bar No. 31941)
                             4208 Six Forks Road, Suite 1400
                             Raleigh, NC 27609
                             Telephone: (919) 420-1718
                             Facsimile: (919) 510-6120
                             Email: jdowdy@kilpatricktownsend.com

                             Counsel for Defendant AT&T Mobility LLC




                                       2

  Case 5:19-cv-00475-BO Document 14 Filed 12/20/19 Page 2 of 3
                               CERTIFICATE OF SERVICE

      I hereby certify that on date set out below, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system which will send notification of such filing to

the following:

 SHUMAKER LOOP & KENDRICK LLP                      PIERCE BAINBRIDGE BECK PRICE
 Terence S. Reynolds                               & HECHT LLP
 treynolds@shumaker.com                            Christopher LaVigne
 Lucas D. Garber                                   clavigne@piercebainbridge.com
 lgarber@shumaker.com                              Dwayne Sam
 101 South Tyron Street                            dsam@piercebainbridge.com
 Suite 2200                                        Sarah Baugh
 Charlotte, North Carolina 28280                   sbaugh@piercebainbridge.com
 Local Civil Rule 83.1(d) Counsel for              Thomas Popejoy
 Plaintiff Jason Williams                          tlpopejoy@piercebainbridge.com
                                                   277 Park Avenue, 45th Floor
                                                   New York, NY 10172
                                                    Counsel for Plaintiff Jason Williams




       This the 20th day of December, 2019.

                                                     /s/ Joseph S. Dowdy.
                                                     Joseph S. Dowdy




                                               3

          Case 5:19-cv-00475-BO Document 14 Filed 12/20/19 Page 3 of 3
